Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 1 of 18




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.


  PLTV ALLIANCE LLC, d/b/a SHOP4PATIO,
  a Florida limited liability company,

        Defendant.
  __________________________________________/

                                            COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant PLTV

  ALLIANCE LLC, d/b/a SHOP4PATIO, a Florida limited liability company and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”).



                                                   1
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 2 of 18




         5.      Plaintiff is and at all relevant times has been a visually impaired and physically

  disabled person who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”).

  As a result of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body

  as a whole and only has very limited use of his left hand. Further as a consequence of his disease,

  Plaintiff has developed optic neuritis and is visually disabled, with complete blindness in one eye

  and very limited vision in the other eye. Plaintiff thus is substantially limited in performing one

  or more major life activities, including, but not limited to, seeing and accurately visualizing his

  world and adequately traversing obstacles. As such, he is a member of a protected class under the

  ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR

  §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff further is an advocate of the rights of

  similarly situated disabled persons and is a “tester” for the purposes of asserting his civil rights

  and monitoring, ensuring, and determining whether places of public accommodation and/or their

  respective and associated websites are in compliance with the ADA and any other applicable

  disability laws, regulations, and ordinances.

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software, and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent.

  At a rapid pace, the software reads the content of a webpage to the user. “The screen reading

  software uses auditory cues to allow a visually impaired user to effectively use websites. For

  example, when using the visual internet, a seeing user learns that a link may be ‘clicked,’ which

  will bring him to another webpage, through visual cues, such as a change in the color of the text

  (often text is turned from black to blue). When the sighted user's cursor hovers over the link, it

  changes from an arrow symbol to a hand. The screen reading software uses auditory -- rather than



                                                   2
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 3 of 18




  visual -- cues to relay this same information. When a sight impaired individual reaches a link that

  may be ‘clicked on,’ the software reads the link to the user, and after reading the text of the link

  says the word ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the

  visually impaired user can navigate a website by listening and responding with his keyboard.”

  Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21,

  2017).

           7.    Defendant is a Florida limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns, operates, and/or controls a chain of

  showrooms, open to the public, selling outdoor furniture, including one of the showrooms that

  Plaintiff intended to patronize in the near future located at 935 South Congress Avenue, Delray

  Beach, Florida.

           8.    Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

           9.    Plaintiff frequently accesses the internet.       Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.

           10.   At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a chain of outdoor furniture showrooms under the name “Shop4Patio”.

  Each Shop4Patio showroom is open to the public. As the owner and operator of these showrooms,

  Defendant is defined as a place of “public accommodation" within meaning of Title III because

  Defendant is a private entity which owns and/or operates “a bakery, grocery store, clothing store,



                                                   3
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 4 of 18




  hardware store, shopping center, or other sales or rental establishment,” per 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a showroom open to the public, each of Defendant’s physical

  showrooms is a place of public accommodation subject to the requirements of Title III of the ADA,

  42 U.S.C. §12182, §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://shop4patio.com (the “Website”). One of the functions of the Website is to provide the

  public information on the locations of Defendant’s showrooms through a “store locator” feature.

  Defendant also sells to the public its merchandise through the Website, which acts as a point of

  sale for merchandise available in, from, and through Defendant’s physical showrooms.

         13.     The Website also services Defendant’s physical showrooms by providing

  information on its available products, services, tips and advice, editorials, sales campaigns, events,

  and other information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical showrooms, purchase merchandise also available for purchase

  in and through the physical showrooms, arrange in-store and curbside pickups of merchandise

  purchased online, and sign up for an emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use online and in the physical showrooms, the Website has a nexus

  to, and is an extension of and gateway to, the goods, services, privileges, and advantages of

  Defendant’s physical showrooms, which are places of public accommodation under the ADA. As

  an extension of and service, privilege, and advantage provided by a place of public accommodation

  as defined under the ADA, the Website is an extension of the services, privileges, and advantages

  made available to the general public by Defendant at and through its brick-and-mortar locations



                                                    4
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 5 of 18




  and businesses. Furthermore, the Website is a necessary service and privilege of Defendant’s

  physical showrooms in that, as a point of sale for Defendant’s merchandise, it enables users of the

  Website to make online purchases of Defendant’s merchandise that is available in and through its

  physical showrooms.

         15.      Because the public can view and purchase Defendant’s goods through the Website

  that are also offered for sale in and through Defendant’s physical showrooms, thus having the

  Website act as a point of sale for Defendant’s products that are also sold in and through the physical

  showrooms, arrange in-store and curbside pickups of merchandise purchased online, and sign up

  for an emailer to receive exclusive online offers, benefits, invitations, and discounts for use online

  and in the physical showrooms, the Website is an extension of and gateway to the physical

  showrooms, which are places of public accommodation pursuant to the ADA, 42 U.S.C.

  §12181(7)(E).    As such, the Website is a necessary service, privilege, and advantage of

  Defendant’s brick-and-mortar showrooms that must comply with all requirements of the ADA,

  must not discriminate against individuals with visual disabilities, and must not deny those

  individuals the same full and equal access to and enjoyment of the goods, services, privileges, and

  advantages afforded the non-visually disabled public both online and in the physical showrooms.

         16.      At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar locations that must comply with all requirements of the ADA, must not

  discriminate against individuals with visual disabilities, and must not deny those individuals the

  same full and equal access to and enjoyment of the goods, services, privileges, and advantages as




                                                    5
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 6 of 18




  afforded the non-visually disabled public both online and in the physical showrooms. As such,

  Defendant has subjected itself and the Website to the requirements of the ADA.

          17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied, one or

  more of Defendant’s physical showrooms (including the showroom located at 935 S. Congress

  Avenue Delray Beach, Florida), and to search for the brick-and-mortar showrooms, check

  showroom hours and merchandise pricing, purchase merchandise, arrange in-store and curbside

  pickups of merchandise purchased online, and sign up for an emailer to receive exclusive offers,

  benefits, invitations, and discounts for use at the Website or in Defendant’s physical showrooms.

  In the alternative, Plaintiff intends to monitor the Website in the near future as a tester to ascertain

  whether it has been remedied and updated to interact properly with screen reader software.

          18.     The opportunity to shop and pre-shop Defendant’s merchandise, arrange in-store

  and curbside pickups, and sign up for an emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use both online and in the physical showrooms from his home are

  important and necessary accommodations for Plaintiff because traveling outside of his home as a

  physically and visually disabled individual is an often difficult, hazardous, frightening, frustrating,

  and confusing experience. Defendant has not provided its business information in any other digital

  format that is accessible for use by blind and visually impaired individuals using the screen reader

  software.

          19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his visits and compare merchandise, prices, sales, discounts, and promotions. Plaintiff may look

  at several dozens of sites to compare features, discounts, promotions, and prices.




                                                     6
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 7 of 18




         20.     During the months of April 2021 and March 2022, Plaintiff attempted on a number

  of occasions to utilize the Website to browse through the merchandise and online offers to educate

  himself as to the merchandise, sales, discounts, and promotions being offered, learn about the

  brick-and-mortar showrooms, check showroom hours, and check pricing of merchandise with the

  intent to making a purchase through the Website or in one of the physical showrooms. Plaintiff,

  also attempted to access and utilize the Website in his capacity as a tester to determine whether it

  was accessible to blind and visually disabled persons such as himself who use screen reader

  software to access and navigate company websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a.         Return to home page link is mislabeled;

                 b.         Promotional banner stating “Save up to 60% on outdoor furniture and
                            accessories” is inaccessible;

                 c.         At the header of the website, on the Locations page, once a store is selected,
                            the store address, telephone number and hours of operation are inaccessible;

                 d.         Once a product is selected, the product image is mislabeled as “open an
                            image light gray”; the image is labeled as the color of the product with no
                            other description.

                 e.         Inside the shopping cart, the item price and subtotal are not accessible;

                 d.         Once an item is removed from the shopping cart, there is no notification that
                            the action was executed;

                 e.         Text throughout the website is not labeled; the cursor skips the information
                            and navigates to the nearest available link, button, or header; and



                                                      7
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 8 of 18




                 f.      At the footer the website, under the Contact Us, the Showroom hours of
                         operation, the store addresses, and telephone numbers are not labeled to
                         integrate with the screen reader.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  Although the Website appeared to have an “accessibility” statement displayed through an

  accessibility widget and/or plugin, that “accessibility” statement still could not be effectively

  accessed by, and continued to be a barrier to, blind and visually disabled persons, including

  Plaintiff. Plaintiff, thus, was unable to receive any meaningful or prompt assistance through the

  “accessibility” statement to enable him to quickly, fully, and effectively navigate the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical showrooms as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize one or more of Defendant’s physical showrooms and to use

  the Website, but he is presently unable to fully do so as he is unable to effectively communicate

  with Defendant due to his severe visual disability and the Website’s access barriers. Alternatively,

  as a tester using screen reader software, Plaintiff is unable to effectively access, navigate, and

  communicate with Defendant through the Website due to his severe blindness and visual disability



                                                   8
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 9 of 18




  and the Website’s access barriers. Thus, Plaintiff, as well as others who are blind and with visual

  disabilities, will suffer continuous and ongoing harm from Defendant’s intentional acts, omissions,

  policies, and practices as set forth herein unless properly enjoined by this Court.

          26.     Because of the nexus between Defendant’s showrooms and the Website, and the

  fact that the Website clearly provides support for and is connected to Defendant’s showrooms for

  its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar showrooms that must comply with all requirements of the ADA, must not

  discriminate against individuals with disabilities, and must not deny those individuals the same

  full and equal access to and enjoyment of the goods, services, privileges, and advantages as

  afforded the non-visually disabled public both online and in the showrooms, which are places of

  public accommodations subject to the requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.



                                                   9
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 10 of 18




             32.   On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

             33.   On information and belief, Defendant has not instituted an Automated Web

   Accessibility Testing program.

             34.   Defendant has not created and instituted a Specialized Customer Assistance line or

   service for immediate customer assistance for the visually disabled.

             35.   The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

             36.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to visually disabled individuals who want the safety

   and privacy of purchasing Defendant’s merchandise offered on the Website online from their

   homes.

             37.   Thus, Defendant has not provided full and equal access to and enjoyment of the

   goods, services, facilities, privileges, advantages, and accommodations provided by and through

   the Website in contravention of the ADA.

             38.   Further, public accommodations under the ADA must ensure that their places of

   public accommodation provide effective communication for all members of the general public,

   including individuals with visual disabilities such as Plaintiff.

             39.   The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping Websites such as the Website at issue in the instant

   action.




                                                     10
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 11 of 18




          40.     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with visual disabilities from the

   means to comprehend information presented therein.

          41.     Defendant is, and at all relevant times has been, aware of the need to provide full

   access to all visitors to the Website.

          42.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities, including Plaintiff.

          43.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with its website access and operation.

          44.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          45.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

   U.S.C. §§2201 and 2202.

          46.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

          47.     Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.

          48.     Defendant is a public accommodation under the ADA as defined within

   §12181(7)(E) and is subject to the ADA.

          49.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s



                                                     11
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 12 of 18




   showrooms, purchase merchandise that is also available for purchase in and through the physical

   showrooms, arrange in-store and curbside pickups of merchandise purchased online, and sign up

   for an emailer to receive exclusive online offers, benefits, invitations, and discounts for use both

   online and in the physical showrooms. The Website thus is an extension of, gateway to, and

   intangible service, privilege, and advantage of Defendant’s physical showrooms. Further, the

   Website also serves to augment Defendant’s physical showrooms by providing the public

   information about the showrooms and by educating the public as to Defendant’s available

   merchandise sold through the Website and in the physical showrooms.

          50.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          51.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          52.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps, as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of



                                                    12
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 13 of 18




   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          53.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          54.     Because of the inaccessibility of the Website, individuals with disabilities who are

   blind and visually disabled are denied full and equal access to and enjoyment of the goods,

   information, and services that Defendant has made available to the public on its Website and in its

   physical showrooms in violation of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C.

   §12182, et seq.

          55.     The Website was subsequently visited by Plaintiff’s expert in April 2021 and again

   in March 2022, and the expert determination was that many of the same access barriers that

   Plaintiff had initially encountered, as well as numerous additional access barriers, existed and

   continued to exist. Thus, although it added an accessibility widget and/or plugin to the Website,

   Defendant still has made insufficient material changes or improvements to the Website to enable

   its full use and enjoyment by, and accessibility to, blind and visually disabled persons such as

   Plaintiff. Moreover, when the Website was visited by the expert, although the Website appeared

   to have an “accessibility” statement on its home page via the accessibility widget and/or plugin,

   that “accessibility” statement still could not be used effectively or accessed by, and continued to

   be a barrier to, visually disabled persons such as Plaintiff. Defendant thus has failed to make

   reasonable modifications in its policies, practices, or procedures when such modifications are

   necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

   individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective

   “accessibility” notice, policy, or statement and the numerous access barriers as set forth in the



                                                   13
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 14 of 18




   Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite Exhibit “A” and

   the contents of which are incorporated herein by reference, continue to render the Website not

   fully accessible to users who are blind and visually disabled, including Plaintiff.

          56.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

          57.     There are readily available, well-established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

          58.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

   access to the Website by individuals such as Plaintiff with visual disabilities who require the

   assistance of interface with screen reader software to comprehend and access internet websites.

   These violations within the Website are ongoing.

          59.     The ADA requires that public accommodations and places of public

   accommodation ensure that communication is effective.

          60.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.




                                                    14
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 15 of 18




          61.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          62.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          63.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          64.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website, with a nexus to its brick-and-mortar showrooms, Plaintiff has suffered an

   injury in fact by being denied full access to, enjoyment of, and communication with Defendant’s

   Website and its showrooms.

          65.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          66.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the



                                                    15
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 16 of 18




   Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

   of the goods, services, facilities, privileges, advantages, and accommodations through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being made readily accessible, provide an alternative method for individuals with visual

   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical showrooms and becoming informed of and purchasing

   Defendant’s merchandise, and during that time period prior to the Website’s being designed to

   permit individuals with visual disabilities to effectively communicate, to provide an alternative

   method for individuals with visual disabilities to effectively communicate for such goods and

   services made available to the general public through the Website.

          67.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

                to monitor and update the Website on an ongoing basis, to remove barriers in order that



                                                    16
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 17 of 18




           individuals with visual disabilities can access, and continue to access, the Website and

           effectively communicate with the Website to the full extent required by Title III of the

           ADA;

        C. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        D. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        E. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        F. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        G. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        H. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility



                                                17
Case 9:22-cv-80453-DMM Document 1 Entered on FLSD Docket 03/22/2022 Page 18 of 18




            requirements of the ADA and any applicable accessibility guidelines, and further

            directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

            counsel for review;

         I. An Order directing Defendant, by a date certain, to make publicly available and directly

            link from the Website homepage, a statement of Defendant’s Accessibility Policy to

            ensure the persons with disabilities have full and equal enjoyment of the Website and

            shall accompany the public policy statement with an accessible means of submitting

            accessibility questions and problems;

         J. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

         K. Such other and further relief as the Court deems just and equitable.

         DATED: March 22, 2022.



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                                                 18
